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 7                                 IN THE UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                            CASE NO. 1:10-CR-00353 LJO
 9
                                    Plaintiff,            STIPULATION REFERRING MOTION FOR
10                                                        SENTENCE REDUCTION TO FEDERAL
                             v.                           DEFENDER’S OFFICE AND PROBATION
11                                                        OFFICE AND ORDER THEREON
     LORENZO SEGUNDO GALLEGOS,
12
                                   Defendant.
13

14
            The Court is in receipt of a motion to reduce a criminal sentence pursuant to Title 18, United
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     States Code, Section 3582(c)(2). The Court refers this motion to the Probation Office (Probation
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     Officers Hubert Alvarez and/or Melinda Peyret) and the Office of the Federal Defender and Assistant
17
     Federal Defender David M. Porter, pursuant to General Order No. 546. The Federal Defender’s Office
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     shall have 30 days from the date the Court approves the stipulation/order to conduct an initial review of
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     the motion to determine the status of representation of the defendant.
20
            1.       If Federal Defender’s Office determines that the defendant is eligible for representation
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     and agrees to represent the defendant, a representative of the Federal Defender’s Office shall file a
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     notice of appearance in the case. If the matter has been referred to panel counsel, a copy of this order
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     shall be forwarded by the Federal Defender’s Office to appointed panel counsel who shall then file a
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     notice of appearance in the case.
25
            2.       The notice of appearance shall indicate whether counsel intends to supplement the
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     defendant’s motion.
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            3.       If the defendant does not intend to supplement the motion, the government’s response
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      REDUCTION
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 1 will be due 14 days following counsel’s notice of appearance.

 2          4.       If defendant’s counsel intends to supplement the defendant’s motion, then the notice of

 3 appearance shall indicate the date upon which the supplement will be filed and the date upon which the

 4 government’s response shall be due. Such dates should be mutually agreeable to the parties.

 5          5.       If the parties agree that a hearing is necessary, the notice of appearance shall include the

 6 date of the hearing, preferably no earlier than two weeks after the government’s response is filed. If the

 7 parties are not in agreement that a hearing is necessary, that issue should be addressed in the parties’

 8 respective filings.

 9          6.       Should no counsel enter an appearance on behalf of the defendant, the government will

10 file a response within 14 days of the expiration of the 30-day period referred to above.

11          7.       Upon review of the motion and response, the Court will determine whether oral argument

12 or hearing will aid its determination of the motion and notify counsel of its decision.

13 Dated: November 13, 2014                                  BENJAMIN B. WAGNER
                                                             United States Attorney
14
                                                             /s/ Kathleen A. Servatius
15                                                           KATHLEEN A. SERVATIUS
                                                             Assistant United States Attorney
16
     Dated: November 13, 2014                                HEATHER E. WILLIAMS
17                                                           Federal Defender
18                                                           /s/ David M. Porter
                                                             DAVID M. PORTER
19                                                           Assistant Federal Defender
                                                             Attorney for Defendant
20
                                                        ORDER
21
            The above stipulation is approved. In addition, if no defense counsel makes an appearance within
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23 the 30-day period set forth in the introductory paragraph of this stipulation, the government shall file an

24 opposition within 14 days of the expiration of such period.

25 IT IS SO ORDERED.

26
        Dated:      November 17, 2014                         /s/ Lawrence J. O’Neill
27                                                       UNITED STATES DISTRICT JUDGE

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      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
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